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 14    Plaintiffs’ Co-Lead Counsel
 15

 16                        UNITED STATES DISTRICT COURT
 17                       CENTRAL DISTRICT OF CALIFORNIA
 18

 19    IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (SKx)
       LEAGUE’S “SUNDAY TICKET”
 20
       ANTITRUST LITIGATION
 21

 22
                                                PLAINTIFFS’ STATEMENT ON
 23    THIS DOCUMENT RELATES TO                 THE VERDICT FORM
       ALL ACTIONS
 24                                             JUDGE: Hon. Philip S. Gutierrez
                                                TRIAL DATE: June 5, 2024
 25                                             COURTROOM:
                                                  First Street Courthouse
 26                                               350 West 1st Street
                                                  Courtroom 6A
 27                                               Los Angeles, CA 90012
 28


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  1           Plaintiffs propose a straightforward verdict form that, together with the
  2   detailed jury instructions that both parties acknowledge as necessary in a complex
  3   case such as this one, will enable the jury to determine the ultimate legal conclusion
  4   in this case: whether Defendants are liable under Section 1 and/or Section 2 of the
  5   Sherman Act. General verdict forms like the one proposed by Plaintiffs are
  6   appropriate here, as jurors will be subject to a long and detailed explanation of the
  7   operative law and its application to Plaintiffs’ claims. Duhn Oil Tool, Inc. v. Cooper
  8   Cameron Corp., 818 F. Supp. 2d 1193, 1215 (E.D. Cal. 2011) (“general verdicts
  9   require the jury to apply the law to the facts, and therefore require legal instruction,
 10   whereas special verdicts ‘compel the jury to focus exclusively on its fact-finding
 11   role.’” (quoting Floyd v. Laws, 929 F.2d 1390, 1395 (9th Cir. 1991)). Because
 12   Plaintiffs’ proposed form is simple and impartial, asking jurors to determine only
 13   whether Plaintiffs prevail on each of their claims and to assess damages, the Court
 14   can adopt it without resolving any of the parties’ disputes about the proper application
 15   of the Sherman Act to this case. Those disputes will necessarily be resolved in the
 16   instructions the Court gives to the jury. Plaintiffs’ verdict form will be consistent
 17   with those instructions, whatever their final content.
 18           Moreover, Courts have used verdict forms similar to Plaintiffs’ proposed form
 19   in antitrust jury trials just like this one. See, e.g., Burnett v. Nat’l Ass’n of Realtors,
 20   No. 4:19-cv-00332-SRB (W.D. Mo. Oct. 31, 2023), ECF No. 1294 (five-question
 21   verdict form in class action antitrust trial); U.S. Wholesale Outlet & Distribution, Inc.
 22   v. Living Essentials, LLC, Case No. 2:18-CV-1077-CBM-E (C.D. Cal. Oct. 21,
 23   2019), ECF No. 517 (three-question general verdict form in multi-plaintiff Robinson-
 24   Patman Act trial); Applied Medical Resources Corp. v. Ethicon Inc., et al., No. SACV
 25   03-1329 JVS(MLGx) (C.D. Cal. Aug. 29, 2006), ECF No. 351 (eight-question
 26   verdict form for claims for actual and attempted monopolization under Section 2);
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  1   Masimo v. Tyco Health Care Group., No. CV 02-4770 NRP (C.D. Cal. Mar. 17,
  2   2005) (three-question verdict form for Section 2 claim). 1
  3           In contrast to Plaintiffs’ straightforward verdict form, the NFL’s special
  4   verdict form is confusing, unnecessarily lengthy, inaccurate as a matter of law, and
  5   impermissibly slanted to increase the odds of a verdict in the NFL’s favor—or at least
  6   a hung jury. This Court should reject it.
  7           Take the NFL’s very first question, about whether Plaintiffs have proven the
  8   existence of a relevant antitrust market. There is no such requirement. As the Ninth
  9   Circuit has explained, “[a] plaintiff is not required to define a particular market . . .
 10   for a rule of reason claim based on evidence of the actual anticompetitive impact of
 11   the challenged practice.” PLS.Com, LLC v. Nat'l Ass'n of Realtors, 32 F.4th 824, 838
 12   (9th Cir. 2022), cert. denied sub nom. The Nat'l Ass'n of Realtors v. The PLS.com,
 13   LLC., 143 S. Ct. 567, 214 L. Ed. 2d 336 (2023). Nearly 40 years ago, the Supreme
 14   Court held that “proof of actual detrimental effects, such as a reduction of output, can
 15   obviate the need for an inquiry into market power, which is but a surrogate for
 16   detrimental effects.” F.T.C. v. Indiana Fed’n of Dentists, 476 U.S. 447, 460–61
 17   (1986) (quotation marks omitted). In suggesting that recent cases demand more—
 18   and overturned four decades of antitrust without saying so—the NFL neglects Ohio
 19   v. Am. Express Co., 585 U.S. 529 (2018), and the Ninth Circuit’s explanation: “In
 20   Amex, the Supreme Court held that the plaintiffs were required to define the relevant
 21   market even though they relied on direct evidence of an anticompetitive impact. . . .
 22   But the Court distinguished Amex, where the plaintiff complained of a [purely]
 23   vertical restraint of trade, from cases like this one, where the plaintiff complains of a
 24   horizontal restraint of trade. Therefore, Amex did not disturb the Indiana Federation
 25   of Dentists rule.” PLS.Com, LLC, 32 F.4th at 838. So too here. Given the horizontal
 26   aspects of the restraint—which distinguish this case from the NFL’s examples from
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       Each of these verdict forms is attached as an exhibit to the Declaration of Tyler
      Finn, filed concurrently herewith.
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  1   trials involving vertical restraints—there is no requirement to define or prove a
  2   relevant market.
  3           The problems cascade from there. For example, the NFL proposes that
  4   Plaintiffs have the burden of proving the “NFL teams are not a single entity for the
  5   purposes of licensing telecasts of NFL football games”—which is doubly
  6   problematic. At most, if the NFL were correct that this is a live issue for trial, it would
  7   be akin to an affirmative defense that the NFL would need to prove. But here the
  8   Ninth Circuit and this Court have already rejected the NFL’s contention that it is
  9   incapable of concerted action, whether as a matter of law or fact. See Sunday Ticket,
 10   933 F.3d at 1153 (“We disagree. Defendants have failed to identify, and we are
 11   unaware of, any binding precedent requiring the teams and the NFL to cooperate in
 12   order to produce the telecasts.”); In re Nat’l Football League’s Sunday Ticket
 13   Antitrust Litig., No. ML 15-02668 PSG (SK), 2024 WL 168298, at *16 (C.D. Cal.
 14   Jan. 11, 2024) (“the evidence shows it is possible for the member clubs to act
 15   individually to produce telecasts”). The NFL misreads this Court’s summary-
 16   judgment decision to suggest that “whether the NFL and its member clubs are
 17   properly considered a single entity incapable of concerted action,” id., is a “threshold
 18   question that this Court has already held must be resolved by the jury.” That passage
 19   concerned the Court’s task at summary judgment. The jury’s role at trial is to evaluate
 20   “whether the NFL and its member clubs’ decision not to produce telecasts
 21   independently” and not to “license telecast rights on their own without pooling their
 22   rights with a conference or league” is a contract, combination, conspiracy, or
 23   agreement among competitors—or, to put it in the language of American Needle and
 24   Copperweld, “a sudden joining of two independent sources of economic power
 25   previously pursuing separate interests.” In re Nat’l Football League's Sunday Ticket
 26   Antitrust Litig., 2024 WL 168298, at *16. Tellingly, the NFL provides no other
 27   example of a jury-verdict form that asked whether plaintiffs have proven that
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  1   defendants are not a single entity. It is not Plaintiffs’ burden to “disprove that the
  2   NFL and the NFL teams are a single entity.”
  3           Equally radical are the NFL’s four questions whether Plaintiffs have proven
  4   that “every” class member suffered injury (without which Plaintiffs lose),
  5   unquestionably loaded language about nearly 6,800,000 class members that again
  6   misstates Plaintiffs’ burden of proof. The NFL’s authorities advise only that the
  7   jury’s damages award must be apportioned among injured class members, not that
  8   the class claims fail if a handful of class members were not injured. 2 See Tyson Foods,
  9   Inc. v. Bouaphakeo, 577 U.S. 442, 466 (2021) (“[I]f there is no way to ensure that
 10   the jury’s damages award goes only to injured class members, that award cannot
 11   stand.”) (Roberts, C. J., concurring); TransUnion LLC v. Ramirez, 594 U.S. 413, 431
 12   (2021) (“Article III does not give federal courts the power to order relief to any
 13   uninjured plaintiff, class action or not.”). In truth, the NFL is resurrecting an
 14   unsuccessful argument about class certification that the Ninth Circuit has rejected, in
 15   concert with Supreme Court precedent: Rule 23(b)(3) authorizes class certification
 16   even where “it includes more than a de minimis number of uninjured class members.”
 17   Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 669
 18   (9th Cir.), cert. denied sub nom. StarKist Co. v. Olean Wholesale Grocery Coop.,
 19   Inc., 143 S. Ct. 424 (2022). To the extent that any such class members are not entitled
 20   to damages at trial, they may be weeded out through the claims process, consistent
 21   with TransUnion, 94 U.S. at 431. See, e.g., Trevino v. Golden State FC LLC, 2023
 22   WL 3687377, at *26 (E.D. Cal. May 26, 2023); Utne v. Home Depot U.S.A., Inc.,
 23   2022 WL 1443338, at *8 (N.D. Cal. May 6, 2022).
 24           To be sure, this debate may be immaterial here given that Plaintiffs’ expert
 25   models “show that all class members suffered some injury.” Class Certification
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        Consider the implications of the NFL’s proposal: If Plaintiffs were to prove an
      antitrust violation at trial, as well as injury and damages to all but one class member,
 28   that class’s claims would falter—and no one would recover. But that is not how class
      actions work, and the NFL’s authorities do not suggest such a draconian outcome.
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  1   Opinion, ECF No. 894 at 19. But that finding at class certification, in Plaintiffs’ favor,
  2   does not entitle the NFL to a legally inaccurate verdict question that would be
  3   dangerous in other cases (and conceivably here if the NFL unearths an outlier class
  4   member or two at trial). Again, it speaks volumes that the NFL cannot find an
  5   equivalent juror question from another class-action antitrust trial nationwide, much
  6   less reconcile it with the Ninth Circuit’s Olean decision.
  7           Substance to one side, the NFL’s verdict form is also confusing on its own
  8   terms as a decision tree. It asks jurors to “follow the directions provided throughout
  9   the form,” but those directions are often unclear or absent. For example, after some
 10   questions, the NFL’s verdict form instructs the jury what to do if they answered “yes”
 11   or “no,” while other questions provide no such guidance, as with questions 4, 9, 11,
 12   and 12. 3 The NFL’s question 3 contains a perplexing double-negative possibility
 13   (unlike every other question) with the option of “no”—the Plaintiffs have not “proven
 14   that the NFL and the NFL teams are not a single entity for the purpose of licensing
 15   telecasts of NFL football games.” And the NFL’s proposed form would require
 16   constant resort to the final jury instructions, as jurors decode various terms of art used
 17   throughout (e.g., “a relevant antitrust market,” “injury to their business or property”)
 18   and attempt to understand why others are missing (e.g., “conspiracy” appears nine
 19   times but never “combination,” “contract,” or “agreement”). Finally, the NFL’s
 20   question 13 restricts damages to those “caused by the Defendants’ conduct” without
 21   any explanation of “caused” or “conduct,” which are already addressed by earlier
 22   questions using different language. This is the first time “causation” is even
 23   mentioned; earlier questions ask about injury “as a result of this conspiracy,”
 24   underscoring the redundancy. This is also the first time “conduct” is used to describe
 25   the totality of behavior encompassed by Plaintiffs’ claims; nearly all the preceding
 26   questions ask about “conspiracy.” As a result, jurors will wonder at this last step if
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        Plaintiffs are willing to implement the same “traffic signals” in their proposed
 28   verdict form, which extinguishes the NFL’s concerns about jurors “award[ing]
      damages even if they do not find liability.”
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  1   these new terms have independent meaning and force. Unsurprisingly, none of the
  2   NFL’s own verdict form examples include this language. See, e.g., Sidibe v. Sutter
  3   Health, No. 3:12-CV-04584-LB, ECF No. 1530 (N.D. Cal. Mar. 11, 2022) (“What
  4   are the damages to the class?”).
  5           At bottom, the NFL disagrees with Plaintiffs’ use of a general verdict form
  6   here, demanding instead a special verdict form that requires jurors to unanimously
  7   agree on a dozen challenging questions riddled with antitrust jargon (many of them
  8   inaccurate) before awarding any damages. The Court should decline this needless
  9   complication, which increases the likelihood of juror confusion (and fatigue, when
 10   combined with the final jury instructions) and requires resolution of significant
 11   disagreements among the parties over the NFL’s proposed questions. “As a general
 12   rule, the [trial] court has complete discretion over whether to have the jury return a
 13   special verdict or a general verdict.” Floyd v. Laws, 929 F.2d 1390, 1395 (9th Cir.
 14   1991). General verdict forms are a complement to detailed jury instructions, whereas
 15   special verdict forms “compel the jury to focus exclusively on its fact-finding role”
 16   and enable “the judge to give a minimum of legal instruction to the jurors.” Id. Any
 17   special verdict form must, however, “fully and fairly present[] to the jury the issues
 18   it was called upon to decide.” Mateyko v. Felix, 924 F.2d 824, 827 (9th Cir. 1990).
 19           Here, all sides agree that detailed jury instructions are warranted (if not their
 20   precise content), paving the way for a simple and straightforward verdict form rather
 21   than something elaborate and misleading. Heeding Floyd’s sliding scale, courts in
 22   this circuit have adopted general verdict forms in complex cases to ensure the jury’s
 23   understanding and ease their burden. 4 See, e.g., Cahill v. Edalat, , 2021 WL 2850588,
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        Nor is there a Seventh Amendment problem with general verdict forms, as the NFL
      implies. Jazzabi v. Allstate Ins. Co., 278 F.3d 979, 985 (9th Cir. 2002), merely affirms
 26   that jury verdicts in federal civil cases must be unanimous (including as to any
 27   affirmative defenses), a point on which all parties agree. And United States v. Real
      Prop. Located at 20832 Big Rock Drive, Malibu, Cal. 902655, 51 F.3d 1402, 1408
 28   (9th Cir. 1995), the NFL’s other pillar, illustrates the perils of unnecessarily complex
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  1   at *4 (9th Cir. July 8, 2021) (affirming use of a general verdict form the district court
  2   determined “would be easier for the jury to understand in light of the number of
  3   claims and parties involved in the case”); MGA Ent. Inc. v. Harris, , 2023 WL
  4   8896883, at *5 (C.D. Cal. Dec. 8, 2023) (adhering in trade-dress infringement trial
  5   to “the Court’s regular practice in jury trials . . . to use a general verdict form as to
  6   each claim”); see also Williams v. Gaye, 895 F.3d 1106, 1130 (9th Cir. 2018) (general
  7   verdict form used in high-profile copyright infringement suit in conjunction with
  8   detailed jury instructions).
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      special verdict forms while repeating that “[t]he district court has broad discretion in
 26   deciding whether to send the case to the jury for a special or general verdict.” Id.
 27   (“This discretion extends to determining the content and layout of the verdict form,
      and any interrogatories submitted to the jury, provided the questions asked are
 28   reasonably capable of an interpretation that would allow the jury to address all factual
      issues essential to judgment.”).
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